
SHEPHERD, J.
Gilberto Jesus Imery and Ivan Carrero Gaivis appeal from an order denying their motion to dismiss a third amended complaint on grounds of forum non conve-niens. Because the record is insufficient to determine whether the trial court performed the analysis required by Kinney System, Inc. v. Continental Insurance Co., 674 So.2d 86 (Fla.1996), we reverse and remand for further proceedings. See Levinson &amp; Litchtman, LLP v. Levinson, 35 So.3d 182 (Fla. 3d DCA 2010); Wood v. Bluestone, 9 So.3d 671 (Fla. 4th DCA 2009).
Reversed and remanded.
